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AO 91 (Rev. ll/ll) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

Southern District of TeXas

 

 

 

United States of America )
v. )
bennyv o'Nem Dobbs ) Case N°' q `- \q ' MB " 38 q
DoB: 1967 )
Citizenship: uSA ' §
)
Defendant(S)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of February 18, 2019 ~ in the county of Hida|go in the
Southern District of Texas , the defendant(s) violated:
Code Section Ojj%nse Description
21 USC § 952 l||ega| lmportation of a Contro||ed Substance / Ap'proximate|y 389.8 Grams of

A|prazo|am a Schedule |V Contro||ed Substance, Approximately 593.3 Grams
of Ca'risoprodo| a Schedule lV Contro||ed Substance, and Approximate|y
169.9 Grams of Oxycodone a Schedu|e |V Contro||ed Substance

This criminal complaint is based on these facts:

See Attachment "A"

il Continued on the attached sheet.

 

Apfrbd¢op by . Y/?Y Compla\§ngnt’s signature

/ Eddie A. Ramirez, HSl Specia| Agent

Printed name and title

Sworn to be e me and signed in my presence.

Date= __Wf %. /1 W

/ V.)?ZHg/e’s signature

|Vch||en, Texas Juan F. A|anis, U.S. |Vlagistrate Judge
Printed name and title

 

City and state:

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ATTACHMENT A l

l am a Special Agent (SA) of the United States Homeland Security lnvestigations
(HS|), and have knowledge of the following facts:

1.

On February 18, 2019, Danny O’Neill DOBBS and Latonya HEARD entered the
United States on foot through the Progreso, Texas Port of Entry.

At the Progreso Port of Entry, DOBBS and HEARD gave negative declarations for
narcotics, Weapons, ammunition and monetary instruments in excess of $10,000 to
Customs and Border Protection (CBP) officers.

DOBBS and HEARD stated they travelled to l\/|exico from San Antonio, Texas to

`go shopping for the afternoon, both individuals are United States Citizens.

DOBBS and HEARD Were referred for a secondary inspection. During the secondary
inspection, boxes containing pills that Were labeled Alprazo|am, Carisoprodol, and
Oxycodone Were found concealed Within boxes of cookies that both DOBBS and
HEARD had in their possession upon crossing from l\/lexico _into the United States.

Further inspection resulted in the discovery of a total of 1,500 dosage units of
Alprazo|am, 1,150 dosage units of Carisoprodol, and 615 dosage units of
Oxycodone. The dosage units of the controlled substances infers distribution.

Neither DOBBS nor HEARD possess licenses, prescriptions, or a DEA registration
number authorizing them to posses or import the concealed narcotics.

HSl SAs, advised DOBBS of his l\/liranda Warnings in the English |anguage, Which
he stated he understood and Waived in Writing.

After Waiving his l\/liranda rights, DOBBS stated he picked up packages,at an
undisclosed pharmacy in l\/lexico. DOBBS stated he thought that a controlled
substance used to make methamphetamine Was concealed in the boxes.

DOBBS instructed HEARD to carry some of the bags from l\/lexico to the United
States.

10. HSl Special Agents placed DOBBS under arrest for violation of 21 United States

Code 952.

